         Case 8-20-08052-ast          Doc 37      Filed 02/22/22         Entered 02/22/22 18:42:18

                                                                       Objection Deadline: March 15, 2022



UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
                                                                   :
    In re:                                                         :    Chapter 11
                                                                   :
    ORION HEALTHCORP, INC.1                                        :    Case No. 18-71748 (AST)
                                                                   :
                                          Debtors.                 :    (Jointly Administered)
                                                                   :
                                                                   :
    HOWARD M. EHRENBERG IN HIS CAPACITY                            :    Adv. Pro. No. 20-08052 (AST)
    AS LIQUIDATING TRUSTEE OF ORION                                :
    HEALTHCORP, INC., ET AL.,                                      :
                                                                   :
                                             Plaintiff,            :
                                                                   :
    v.                                                             :
                                                                   :
    ABRUZZI INVESTMENTS, LLC; JOHN                                 :
    PETROZZA,                                                      :
                                                                   :
                                             Defendants.           :
                                                                   :

             NOTICE OF PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT, OR
              IN THE ALTERNATIVE, SUMMARY ADJUDICATION AS AGAINST
             DEFENDANTS ABRUZZI INVESTMENTS, LLC AND JOHN PETROZZA

             PLEASE TAKE NOTICE THAT Plaintiff, Howard M. Ehrenberg in his capacity as

Liquidating Trustee of Orion Healthcorp, Inc., et al., (the “Plaintiff” or the “Liquidating

Trustee”), for the estates of the above-captioned debtors (“Plaintiff”), by and through his



1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Orion Healthcorp, Inc. (7246); Constellation Healthcare Technologies, Inc. (0135); NEMS Acquisition,
LLC (7378); Northeast Medical Solutions, LLC (2703); NEMS West Virginia, LLC (unknown); Physicians Practice
Plus Holdings, LLC (6100); Physicians Practice Plus, LLC (4122); Medical Billing Services, Inc. (2971); Rand
Medical Billing, Inc. (7887); RMI Physician Services Corporation (7239); Western Skies Practice Management, Inc.
(1904); Integrated Physician Solutions, Inc. (0543); NYNM Acquisition, LLC (unknown) Northstar FHA, LLC
(unknown); Northstar First Health, LLC (unknown); Vachette Business Services, Ltd. (4672); Phoenix Health, LLC
(0856); MDRX Medical Billing, LLC (5410); VEGA Medical Professionals, LLC (1055); Allegiance Consulting
Associates, LLC (7291); Allegiance Billing & Consulting, LLC (7141); New York Network Management, LLC
(7168). The corporate headquarters and the mailing address for the Debtors listed above is 1715 Route 35 North,
Suite 303, Middletown, NJ 07748.



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      Case 8-20-08052-ast        Doc 37     Filed 02/22/22           Entered 02/22/22 18:42:18




attorneys, Pachulski Stang Ziehl & Jones LLP, hereby files Plaintiff’s Motion For Summary

Judgment, or in the Alternative, Summary Adjudication as Against Defendants Abruzzi

Investments, LLC and John Petrozza.

       PLEASE TAKE FURTHER NOTICE THAT that any responses or objections

(“Objections”) to the relief requested in the Motion, if any, must conform with the Bankruptcy

Code and the Bankruptcy Rules, shall be in writing, shall set forth the nature of the objector’s

interest in the Debtors’ Estates and the reasons and legal basis for the objection, and be served

upon counsel for the Plaintiff, Pachulski Stang Ziehl & Jones LLP, 780 Third Avenue, 34th

Floor, New York, New York 10017-2024 (Attn.: Jeffrey P. Nolan, Esq.), no later than March

15, 2022 (the “Objection Deadline”).

       PLEASE TAKE FURTHER NOTICE THAT IF NO RESPONSES TO THE

MOTION ARE TIMELY FILED, SERVED AND RECEIVED IN ACCORDANCE WITH

THIS NOTICE, THE BANKRUPTCY COURT MAY ENTER THE RELIEF

REQUESTED BY THE MOTION WITHOUT FURTHER NOTICE OR HEARING.

  Dated: February 22, 2022                      PACHULSKI STANG ZIEHL & JONES LLP

                                                By:      /s/ Jeffrey P. Nolan
                                                         Ilan D. Scharf, Esq.
                                                         Jeffrey P. Nolan, Esq. (admitted pro hac vice)
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                                                         Counsel for the Plaintiff,
                                                         Howard M. Ehrenberg in his capacity as
                                                         Liquidating Trustee of Orion Healthcorp, Inc.,
                                                         et al.




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                                         Debtors.                 :   (Jointly Administered)
                                                                  :
                                                                  :
HOWARD M. EHRENBERG IN HIS CAPACITY                               :   Adv. Pro. No. 20-08052 (AST)
AS LIQUIDATING TRUSTEE OF ORION                                   :
HEALTHCORP, INC., ET AL.,                                         :   [Joint Separate Statement of
                                                                  :   Uncontroverted Facts; Plaintiff’s
                                            Plaintiff,            :   Separate Statement of Additional
                                                                  :   Facts; Affidavits of Edith Wong,
v.                                                                :   Frank Lazarra, and Jeffrey Nolan; and
                                                                  :   Request For Judicial Notice Filed
ABRUZZI INVESTMENTS, LLC; JOHN                                    :   Concurrently Herewith]
PETROZZA,                                                         :
                                                                  :
                                            Defendants.           :
                                                                  :
                                                                  :


                      BRIEF IN SUPPORT OF PLAINTIFF’S
                 MOTION FOR SUMMARY JUDGMENT, OR IN THE
              ALTERNATIVE, SUMMARY ADJUDICATION AS AGAINST
          DEFENDANTS ABRUZZI INVESTMENTS, LLC AND JOHN PETROZZA




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           Case 8-20-08052-ast                    Doc 37          Filed 02/22/22             Entered 02/22/22 18:42:18




                                                     TABLE OF CONTENTS



SUMMARY OF ARGUMENT ..........................................................................................................1
STANDING ........................................................................................................................................3
PROCEDURAL STATEMENT .........................................................................................................4
STATEMENT OF FACTS .................................................................................................................5
            Defendant Abruzzi Was a Major Shareholder of The Debtors; and Its
            Principal, Defendant Petrozza, a Friend of Paul Parmar ............................................5

          Millions of Dollars from The Debtors’ Bank Accounts Were Directly Moved
          into The Debtors’ IOLA Account At Robinson Brog And Reflected On The
          Debtors’ Books And Records As Property of the Debtor ...........................................6
          Parmar Fabricated Acquisitions In The Amount Of $60 Million Through The
          Synthetic Acquisitions Of Northstar Acquisition, LLC, Phoenix Health,
          LLC, And MDRX Medical Billing, LLC ...................................................................7
          In January 2017 Defendant Petrozza Approved The Go-Private Transaction
          Which Included Bank of America Advancing $130,000,000 Guaranteed by
          All the Debtors; Of Which $46,000,000 was Diverted By Parmar Into the
          Robinson Brog IOLA Account ...................................................................................8
          On May 25, 2017, $250,000 Was Transferred To Defendants Petrozza And
          Abruzzi from the IOLA Account ..............................................................................10
          At The Time Petrozza Received the $250,000 Transfer Lawsuits and Judgment
          Creditors Existed Against the Debtors ......................................................................11
LEGAL STANDARD ON SUMMARY JUDGMENT OR ADJUDICATION...............................12
          The Robinson Brog IOLA Account Were Funds of the Debtors Or Property
          In Which The Debtors Had An Interest ....................................................................13
          i.      At All Pertinent Times, The Monies in the IOLA Account Were
                  Reflected in Communications, Financial Records and Audited Returns
                  As An Asset and Debt of the Estate ..............................................................15
          ii.     Debtors’ Monies were Directly Deposited into IOLA Account To Pay
                  Legitimate and Illegitimate Purposes............................................................16
          iii.    In 2017, Proceeds From the Go-Private Transaction Were Funded
                  in Part by the Debtors Borrowing $130,000,000 Which Were
                  Deposited into IOLA Account ......................................................................17
          It Cannot Be Reasonably Disputed that the Transfer Was an Intentionally
          Fraudulent Transfer Under State and Federal Law ...................................................17
          Pursuant To N.Y. DCL §276, The Transfer Was An Intentionally Fraudulent
          Transfer .....................................................................................................................21
          i.      The Lack Or Inadequacy Of Consideration ..................................................22
          ii.     The Family, Friendship Or Close Associate Relationship Between
                  The Parties ....................................................................................................22




DOCS_LA:340597.10                                                      i
           Case 8-20-08052-ast                   Doc 37         Filed 02/22/22            Entered 02/22/22 18:42:18




                     iii.
                     The Retention Of Possession, Benefit Or Use Of The Property In
                     Question ........................................................................................................23
         iv.         The Financial Condition Of The Party Sought To Be Charged Both
                     Before And After The Transaction In Question ...........................................23
         v.          The Existence Or Cumulative Effect Of A Pattern Or Series Of
                     Transactions Or Course Of Conduct After The Incurring Of Debt, Onset
                     Of Financial Difficulties, Or Pendency Or Threat Of Suits By Creditors;
                     And The General Chronology Of The Events And Transactions Under
                     Inquiry. ..........................................................................................................24
         The Transfer Violates NY Debt & Cred L § 273(a) As A Constructively
         Fraudulent Transfer As Judgment Creditors Existed Before The Transfer And
         The Transfer Had The Effect Of Moving Monies Out Of The Estate For
         No Value ...................................................................................................................24
         The Transfer Lacked Both Consideration And Good Faith ......................................26
CONCLUSION .................................................................................................................................29




DOCS_LA:340597.10                                                   ii
          Case 8-20-08052-ast                 Doc 37         Filed 02/22/22           Entered 02/22/22 18:42:18




                                               TABLE OF AUTHORITIES

Cases
Adelphia Recovery Trust v. Bank of Am., N.A.,
  624 F. Supp. 2d 292, 308 (S.D.N.Y. 2009) ................................................................................... 20
Adickes v. S.H. Kress & Co.,
  398 U.S. 144, 157, 90 S. Ct. 1598, 26 L. Ed. 2d 142 (1970) ......................................................... 12
Am. Media, Inc. v. Bainbridge & Knight Labs., LLC,
  135 A.D.3d 477, 478, 22 N.Y.S.3d 437 (1st Dept 2016)............................................................... 27
Anderson v. Liberty Lobby, Inc.,
  477 U.S. 242, 248, 106 S. Ct. 2505, 91 L. Ed. 2d 202 (1986) ....................................................... 13
Bayou Accredited Fund, LLC v. Redwood Growth Partners, L.P. (In re Bayou Group, LLC),
  396 B.R. 810, 826- 827 (Bankr. S.D.N.Y. 2008) .......................................................................... 18
Berman v. Pavano (In re Michael S. Goldberg, LLC),
  2020 Bankr. LEXIS 2314, 22 (Bankr. Conn. 2020........................................................................ 27
Berner Trucking, Inc. v. Brown,
  281 AD2d 924, 925, 722 N.Y.S.2d 656 (1st Dept 2001)............................................................... 27
Boyer v. Carlton, Fields, Ward, Emmanuel, Smith & Cuter, P.A. (In re USA Diversified Prods.,
  Inc.), 100 F.3d 53, 55 (7th Cir. 1996) ............................................................................................ 16
Brown v. Dellinger (In re Brown),
  734 F.2d 119, 123 (2d Cir. 1984) .................................................................................................. 13
Bruno Mach. Corp. v. Troy Die Cutting Co. (In re Bruno Mach. Corp.),
  435 B.R. 819, 852-53 (N.D. NY, 2010)......................................................................................... 19
Dixie Yarns, Inc. v. Forman,
  906 F. Supp. 929, 938 (S.D.N.Y. 1995) ........................................................................................ 26
EAC of N.Y, Inc. v. Capri 400, Inc.,
  49 A.D.3d 1006, 1007, 853 N.Y.S.2d 419 (3d Dept 2008) ........................................................... 27
Employees' Ret. Sys. of Gov't of the Virgin Islands v. Blanford,
  794 F.3d 297, 306 (2d Cir. 2015) .................................................................................................. 20
Farm Stores, Inc. v. Sch. Feeding Corp.,
  102 A.D.2d 249, 477 N.Y.S.2d 374 (2d Dep't 1984) .................................................................... 28
FBI Wind Down Inc. Liquidating Trust v. All Am. Poly Corp. (In re FBI Wind Down, Inc.),
  581 B.R. 116, 130 (Bankr. DE, 2018) ........................................................................................... 16
Floyd v. Option Mortgage Corp. (In re Supplement Spot, LLC),
  409 BR 187, 205 (Bankr. SD TX 2009) ........................................................................................ 15
Geron v. Schulman (In re Manshul Constr. Corp.), 2000 U.S. Dist. LEXIS 12576, 2000 WL
  1228866, at *53 (S.D.N.Y. Aug. 20, 2000) ................................................................................... 26
Grace v. BankLeumi Trust Co. of N.Y.,
  443 F.3d 180, 188 (2d Cir. 2006) .................................................................................................. 25




DOCS_LA:340597.10                                               iii
           Case 8-20-08052-ast                  Doc 37         Filed 02/22/22            Entered 02/22/22 18:42:18




HBE Leasing Corp. v. Frank,
 48 F.3d 623, 634 (2d Cir. 1995) .................................................................................................... 28
In re Actrade Fin. Techs. Ltd.,
   337 B.R. 791, 809 2005 Bankr. LEXIS 2816 (Bankr. S.D.N.Y. 2005) ......................................... 22
In re MarketXT. Holdings Corp.,
   376 B.R. 390 (Bankr. S.D.N.Y. 2007) ........................................................................................... 21
In re Sec. Investor Prot. Corp. v. Bernard L. Madoff
   Inv. Sec. LLC, 2017 Bankr. LEXIS 4145...................................................................................... 14
Korea Deposit Ins. Corp. v. Mina Jung,
  59 Misc. 3d 442, 449 (Sup Ct, New York County, 2017) ............................................................. 21
Kramer v. Mahia (In re Khan),
  2014 Bankr. LEXIS 4205, 41 (Bkrtcy E.D.N.Y, 2016) ................................................................. 26
Lyman Commerce Solutions, Inc. v. Lung,
  2015 U.S. Dist. LEXIS 51447, (S.D.N.Y, 2015) ..................................................................... 25, 27
Machado v A. Canterpass, LLC,
  115 A.D.3d 652, 654, 981 N.Y.S.2d 758 (2d Dept 2014) ...................................................... 23, 24
Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp.,
 475 U.S. 574, 586, 106 S. Ct. 1348, 89 L. Ed. 2d 538 (1986) ....................................................... 12
McColley v. Rosenberg (In re Candor [*445] Diamond Corp.),
 76 B.R. 342, 349 n. 4 (Bankr. S.D.N.Y. 1987) .............................................................................. 18
Mellon Bank v. Official Comm. of Unsecured Creditors (In re R.M.L., Inc.),
 92 F.3d 139, 149 (3d Cir. 1996) .................................................................................................... 22
Mendelsohn v. Jacobowitz (In re Jacobs),
 394 B.R. 646, 658 (Bankr. E.D.N.Y. 2008)................................................................................... 21
Mitchell v. Garrison Protective Servs., Inc.,
  579 F. App'x 18 (2d Cir. 2014) ...................................................................................................... 26
Mitchell v. Lyons Prof'l Servs., Inc.,
  No. 09 CIV. 1587 BMC, 2013 U.S. Dist. LEXIS 124937, 2013 WL 4710431, at *3
  (E.D.N.Y. Sept. 1, 2013)................................................................................................................ 25
Nisselson v. Salim (In re Big Apple Volswagen, LLC),
   2016 Bankr. LEXIS 834, *29 (Bankr. S.D.N.Y, 2016) .......................................................... 13, 16
Orr v. Kinderhill Corp.,
  991 F.2d 31, 35 (2d Cir. 1993) ...................................................................................................... 18
Priestley v. Panmedix Inc.,
  18 F. Supp. 3d 486, 497 (S.D.N.Y. 2014) ..................................................................................... 25
Rubin Bros. Footwear, Inc. v. Chemical Bank (In re Rubin Bros. Footwear Inc.),
  119 B.R. 416, 423 (Bankr. S.D.N.Y. 1990) ................................................................................... 18
Salomon v. Kaiser (In re Kaiser),
  722 F.2d 1574, 1582-83 (2d Cir. 1983). ........................................................................................ 22




DOCS_LA:340597.10                                                  iv
           Case 8-20-08052-ast                     Doc 37         Filed 02/22/22              Entered 02/22/22 18:42:18




Sardis v. Frankel,
  113 A.D.3d 135, 142, 978 N.Y.S.2d 135 (1st Dept 2014)............................................................. 27
Shapiro v. Wilgus,
  287 U.S. 348, 354, 53 S. Ct. 142, 77 L. Ed. 355 (1932) ................................................................ 21
Sharp Int'l Corp. v. State St. Bank & Trust Co.,
  403 F.3d 43, 54 (2d Cir. 2005) ...................................................................................................... 28
State Farm Mut. Auto Ins. Co. v. Grafman,
  No. 04-cv-2609(NG) (SMG), 2017 US Dist. LEXIS 154290, 2017 WL 4217122
  (E.D. N.Y. Sept. 221, 2017)........................................................................................................... 14
Tronox Inc. v. Kerr McGee Corp., (In re Tronox Inc.)
  503 B.R. 239, 282-283 (S.D.N.Y, 2013) ....................................................................................... 22
Tronox v. Anadarko Petroleum (In re Tronox Inc.),
  429 B.R. 73, 95 (Bankr. S.D.N.Y. 2010) ....................................................................................... 22
United States v. Maciejewski,
  70 F. Supp. 2d 129, 134 (Bankr. N.D.N.Y, 1999) ......................................................................... 20
United States v. McCombs,
  30 F.3d 310, 327-28 (2d Cir. 1994) ............................................................................................... 21

Statutes

11 U.S.C. § 541 .................................................................................................................................. 13

11 U.S.C. § 541(a)(1)......................................................................................................................... 13

11 U.S.C. § 541(a)(3)......................................................................................................................... 13

11 U.S.C. § 544 .................................................................................................................................. 18

11 U.S.C. § 548 ...................................................................................................................... 18, 21, 29

11 U.S.C. § 548(a)(1)(A) ............................................................................................................. 18, 19

11 U.S.C. § 548(a)(1)(B) ................................................................................................................... 18

11 U.S.C. § 550 .................................................................................................................................. 18

11 U.S.C. § 551. ................................................................................................................................. 18

N.Y. Debt & Cred. Law § 272 ..................................................................................................... 26, 27

NY Debt & Cred Law § 273 .................................................................................................. 26, 26, 29




DOCS_LA:340597.10                                                      v
           Case 8-20-08052-ast                   Doc 37          Filed 02/22/22             Entered 02/22/22 18:42:18




N.Y. Debt & Cred. Law § 273-a ............................................................................................ 24, 25, 26

NY Debt & Cred Law § 276 ............................................................................................ 18, 21, 24, 29

Other Authorities

H.R. Rep. No. 595, 95th Cong., 1st Sess. 367 (1977) ....................................................................... 13

NY Jud. Law § 497(1) ....................................................................................................................... 14

U.S. Code Cong. & Ad. News 5963, 6323 ........................................................................................ 14

Rules

Fed R. Civ. Proc. 56 ....................................................................................................................... 1, 12

Fed. R. Bankr. P. 7056 ................................................................................................................... 5, 12




DOCS_LA:340597.10                                                    vi
      Case 8-20-08052-ast        Doc 37     Filed 02/22/22      Entered 02/22/22 18:42:18




        This Brief is filed pursuant to Fed R. Civ. Proc. 56(a) and (d), by Plaintiff, Howard M.

Ehrenberg in his capacity as Liquidating Trustee of Orion Healthcorp, Inc., et al., (the “Plaintiff”

or the “Liquidating Trustee”), in support of Plaintiff’s Motion For Summary Judgment, Or In

The Alternative, Summary Adjudication (the “Motion”), with supporting documents filed

concurrently herewith as against Defendants Abruzzi Investments, LLC and John Petrozza (the

“Defendant”).

                                 SUMMARY OF ARGUMENT

                1.     Defendant John Petrozza, was among Paul Parmar’s (“Parmar”) inner

circle and received a fraudulent conveyance/transfer within one year of the filing of the petition

in bankruptcy. The Motion seeks recovery of that fraudulent conveyance\transfer, which was

one of a series of such inappropriate transfers of estate assets initiated by Parmar to a friend and

insider for no consideration to the Debtors. The fraud in this particular instance involves the

misuse of an Interest On Lawyer Account (“IOLA Account”) of the Debtors’ law firm at

Robinson, Brog, Leinwand, Greene, Genovese & Gluck, P.C. (“Robinson Brog”) as utilized to

obfuscate Parmar’s diversion of Debtors’ funds. Parmar deposited funds from the Debtors’ bank

accounts as well as the proceeds of his entirely fraudulent Go-Private transaction into the IOLA

Account. The $250,000 at issue in the present adversary proceeding flowed out of the Debtors’

IOLA Account with no corresponding benefit to the Debtors’ estates.

                2.     Between September 2015 and March 2016, Parmar and company falsified

$60 million in fake acquisitions (the “Synthetic Transactions”). Ultimately, on January 30, 2017,

Parmar and Debtors entered into the “Go-Private transaction” (the “Go-Private Transaction”)



DOCS_LA:340597.10                                 1
       Case 8-20-08052-ast            Doc 37      Filed 02/22/22        Entered 02/22/22 18:42:18




wherein the falsified corporate records were presented to Bank of America (“BOFA”) in

connection with obtaining a loan of $130 million backed by the Debtors’ assets (including the

purported value of the companies acquired through Synthetic Transactions).2 With Defendant

Petrozza’s assistance, fictitious companies were created weeks prior to the Go-Private

Transaction to receive the proceeds thereof. One of these companies was Lexington Landmark

Services, LLC. In addition to funds diverted directly from Debtors’ bank accounts, Parmar

diverted $60 million from the Go-Private Transaction to the Robinson Brog IOLA Account on

February 3, 2017, under a book entry titled “Constellation Health/CHT Closing”. 3 There can be

no reasonable dispute that these funds were assets of the Debtors as the account was reflected on

the Debtors’ financial records as property of the estate.

                 3.       Parmar also deceptively moved funds out of the IOLA Account solely for

Parmar’s personal benefit. Notably, on May 24, 2017, at 8:39 pm, Parmar emailed Mitchell

Greene at Robinson Brog to wire $250,000 from the Robinson Brog IOLA Account to Defendant

(the “Transfer”). Parmar did not care which account the funds were taken from and flippantly

directed Robinson Brog to take it from “any account”. One month later, Parmar directed

Defendant to transfer the $250,000 to Sunshine Star, LLC, yet another entity Parmar created, this

time to benefit Parmar’s then girlfriend. Parmar and Defendant Petrozza were friends at the time

of these transfers and Defendant Abruzzi Investments LLC (“Abruzzi”) was a shareholder of the

Debtors under the Go-Private Transaction. Defendant Petrozza is the principal of Abruzzi.

2
  BOFA is the single largest secured creditor in the bankruptcy estates with a scheduled secured claim (#545020140)
in the amount of $158,200,710.89.
3
 On March 15, 2017, the FBI seized $20,100,356.70 of the Go-Private Transactions funds from the IOLA account,
as one beneficiary thereof, PBPP Partners, LLC (Pav Bakshi Paul Parmar), was alleged to be a fraud.

DOCS_LA:340597.10                                       2
      Case 8-20-08052-ast       Doc 37     Filed 02/22/22     Entered 02/22/22 18:42:18




                4.    It is undisputed that Defendant performed no services for the Debtors,

conducted no business with the Debtors, and no antecedent debt was satisfied as a result of the

Transfer. Since this was yet another personal transaction between Parmar and a friend, no

reasonable dispute exists that the Transfer was made without consideration to the Debtors. As

Defendant was a major shareholder of the Debtors, the Transfer cannot be made in good faith as

a matter of law. In addition to being an intentionally fraudulent conveyance the Transfer, was at

a minimum, a constructively fraudulent conveyance as well.

                5.    Summary judgment is designed to pierce the pleadings and expose

arguments not supported by the law or lacking evidentiary support. Defendant’s myriad of self-

serving explanations are not a defense. The Motion is ripe for determination, and the Court

should grant the Motion.

                                          STANDING

                6.    On March 16, 2018, each of the Debtors except New York Network

Management, LLC (“NYNM”) filed a voluntary petition with the United States Bankruptcy

Court for the Eastern District of New York (the “Bankruptcy Court”) under chapter 11 of the

Bankruptcy Code (NYNM commenced its voluntary petition on July 5, 2018) (collectively, the

“Debtors). The Debtors’ cases are jointly administered for administrative purposes only [Dkt.

Nos. 34 and 381].

                7.    On February 26, 2019, the Honorable Alan S. Trust, United States

Bankruptcy Judge for the Eastern District of New York, entered an order (the “Confirmation




DOCS_LA:340597.10                               3
      Case 8-20-08052-ast        Doc 37    Filed 02/22/22      Entered 02/22/22 18:42:18




Order”) [Dkt. No. 701] confirming the Debtors’ Third Amended Joint Plan Of Liquidation (the

“Plan”).

                8.    The Plan provides, among other things, for the formation of the

Liquidating Trust and the appointment of the Liquidating Trustee on the Effective Date (as that

term is defined in the Plan) to oversee distributions to holders of Allowed Claims and Allowed

Interests and to pursue retained Causes of Action of the Debtors’ Estates. The Effective Date

occurred on March 1, 2019.

                9.    The Plan provides that the Liquidating Trustee shall have the authority and

responsibility to, among other things, receive, manage, invest, supervise, and protect the

Liquidating Trust Assets, including causes of action, of the Debtors as well as making

distributions to creditors with Allowed claims. (Plan, §6.3)

                                PROCEDURAL STATEMENT

                10.   Plaintiff filed the complaint (the “Complaint”) in this action on March 14,

2020 [Dkt. No. 1]. The Complaint sought to recover alleged fraudulent transfers under

applicable provisions of the Bankruptcy Code and New York Debt and Creditor Law (“N.Y.

DCL”).

                11.   Defendants filed an Answer on May 15, 2020 [Dkt. No. 5].

                12.   On June 16, 2021, the Court issued a Case Management and Discovery

Plan (“Scheduling Order”). [Dkt No. 26]

                13.   On or about August 21, 2020, counsel for Defendants’ moved to withdraw

as counsel. [Dkt No. 11] On September 2, 2020, Plaintiff filed a Response and Limited



DOCS_LA:340597.10                                4
      Case 8-20-08052-ast        Doc 37     Filed 02/22/22     Entered 02/22/22 18:42:18




Opposition. [Dkt No. 12 & 13] On October 20, 2020, Defendant retained new counsel. [Dkt

No. 18] The Pretrial Conference was adjourned to January 21, 2021. [Dkt No. 20] A Case

Management and Discovery Plan was filed on December 11, 2020 [Dkt No. 21], and amended on

June 16, 2021. [Dkt No. 26]    Fact and expert discovery is closed.

                14.    Pursuant to 7056-1(a) Plaintiff requested and received permission from the

Court to file a motion for summary judgment or summary adjudication. [Dkt No. 27]

                                   STATEMENT OF FACTS

                15.    Based upon the affidavits attached to the Motion, the documents submitted

herewith, the Request for Judicial Notice and the pleadings in this case, there is no genuine issue

concerning the following material facts:


        Defendant Abruzzi Was a Major Shareholder of The Debtors; and Its Principal,
        Defendant Petrozza, a Friend of Paul Parmar


                16.    The Debtors were a consolidated enterprise of several companies

aggregated through a series of acquisitions which operated in the healthcare sector primarily in

revenue and practice management for physician practices. (See Joint Statement of

Uncontroverted Facts (“JSOF”) #1)

                17.    Defendant Petrozza resides in the State of Florida and does business in

New York. Defendant Abruzzi Investments, LLC is a Limited Liability Corporation that has no

employees, officers or directors but is managed by Defendant Petrozza for the sole purpose of

investing his monies. (JSOF #2-3)




DOCS_LA:340597.10                                5
      Case 8-20-08052-ast       Doc 37    Filed 02/22/22    Entered 02/22/22 18:42:18




                18.   Paul Parmar and Defendant Petrozza were close friends who socialized,

exchanged credit cards, and paid one another’s American Express bills. (“JSOF #4)

Mr. Petrozza was a frequent guest at the Colts Neck, New Jersey residence of Mr. Parmar.

(JSOF #4)

                19.   In June 2013, Defendant alleges he invested $4 million in Constellation

Health Investment which had an ownership interest in Debtor Orion Healthcorp Inc. (“Orion”).

(JSOF #5) Defendant Abruzzi filed claim no. 10062 in the bankruptcy case, identifying itself as

a shareholder (common stock) of Constellation Healthcare Technologies, Inc. (JSOF #6)

Defendant Abruzzi filed a second claim (claim no. 10063), asserting it held a 49% membership

interest in Constellation Healthcare Technologies, Inc. (JSOF #7)

        Millions of Dollars from The Debtors’ Bank Accounts Were Directly Moved into
        The Debtors’ IOLA Account At Robinson Brog And Reflected On The Debtors’
        Books And Records As Property of the Debtor


                20.   For fiscal year 2014, $23 million borrowed by Orion was deposited in the

IOLA Account. This debt was reflected in the audited Consolidated Financial Statements of the

Debtors as “net proceeds from long term debt.” (See Plaintiff’s Separate Statement of Additional

Uncontroverted Facts (“ASOF”), ASOF #39.)

                21.   Debtor Constellation Healthcare Technologies Inc. (“CHT”) maintained a

checking account at Manufacturer’s Trust Bank, account #68132 and #25647(the “M&T Bank

Accounts”). (ASOF ##36, 37) Debtor Orion maintained an operating account at JP Morgan

Chase Bank, NA; Account #66450 (the “Chase Bank Account”). (ASOF #38)




DOCS_LA:340597.10                              6
      Case 8-20-08052-ast       Doc 37    Filed 02/22/22      Entered 02/22/22 18:42:18




                22.   On February 19, 2016, Parmar, instructed Sam Zaharis, the Debtors’

former CFO, to transfer $5,058,408.81 of the Debtor CHT’s monies out of the M&T Bank

Accounts to the Debtors’ IOLA Account at Robinson Brog. (ASOF #36) On August 10, 2016,

$12,740,000 was transferred out of the Debtor CHT’s, bank account to the IOLA Account.

(ASOF #37) On March 10, 2017, $5,590,000 was transferred out of the Debtor Orion’s bank

account to the IOLA Account. (ASOF #38) The escrow account balance in the IOLA Account

for year ending 2016 of $7,280,279, was reflected in the CHT general ledger balance as

$7,255,363, which comprised nearly all of the cash balance reported on CHT’s balance sheet in

its audited financials for the year ended December 31, 2016. (ASOF #40)

        Parmar Fabricated Acquisitions In The Amount Of $60 Million Through The
        Synthetic Acquisitions Of Northstar Acquisition, LLC, Phoenix Health, LLC, And
        MDRX Medical Billing, LLC


                23.   Beginning on September 29, 2017 Timothy J. Dragelin served as the

Debtors’ CEO and CRO and through the filing of the Petition, restructuring, sale of the Debtors’

assets and confirmation of the Plan. (JSOF #9) FTI Consulting, Inc. (“FTI”) was appointed in

September 2017 to conduct a forensic examination of the Debtors’ business following questions

raised as to CHT’s financial condition. (JSOF #8) Mr. Dragelin’s appointment occurred shortly

after the resignation of executives Parmar, and termination of Sam Zaharis and Ravi Chivukula.

                24.   On September, 16, 2015, Debtor CHT purportedly acquired Phoenix

Health, LLC (“Phoenix”) and its businesses for $14 million. However, Phoenix had no business,

assets or employees and was a fictitious entity. (JSOF #10)




DOCS_LA:340597.10                              7
      Case 8-20-08052-ast        Doc 37     Filed 02/22/22     Entered 02/22/22 18:42:18




                25.    On September, 18, 2015, Debtor CHT purportedly acquired Northstar

Acquisition, LLC (“Northstar”) and its businesses for $18 million. However, Northstar had no

business, assets or employees and was a fictitious entity. (JSOF #11)

                26.    On February 10, 2016, CHT purportedly acquired MDRX Medical Billing,

LLC (“MDRX”) and its businesses for $28 million. MDRX had no assets, employees, conducted

no business. (JSOF #12-13) The acquisitions of Phoenix, Northstar and MDRX were sham

transactions designed to benefit Parmar and his friends to the detriment of the estates.

                27.    Despite purporting to make a number of acquisitions in 2016, the Debtor

was unable to generate additional revenue in fact generating less revenue than 2015, a fact that

illustrates the fictitious nature of the purported acquisitions of Phoenix, Northstar and MDRX.

(ASOF #43)

        In January 2017 Defendant Petrozza Approved The Go-Private Transaction Which
        Included Bank of America Advancing $130,000,000 Guaranteed by All the Debtors;
        Of Which $46,000,000 was Diverted By Parmar Into the Robinson Brog IOLA
        Account


                28.    In November 2016, as part of the Go-Private Transaction, Defendant

Petrozza met with Parmar and Vardi and approved the Go-Private Transaction so they could all

make a “gazillion dollars.” (JSOF #14)

                29.    As part of an orchestrated fraud to divert funds from the Go-Private

Transaction, a number of fictitious entities were created to represent ownership of fictitious

equity of CHT. One of these fictitious entities was Lexington Landmark Services, LLC

(“Lexington”), which was incorporated on November 17, 2016. (JSOF ##16, 17; ASOF #44)



DOCS_LA:340597.10                                8
      Case 8-20-08052-ast        Doc 37    Filed 02/22/22     Entered 02/22/22 18:42:18




The Operating Agreement of Lexington identifies Defendant Petrozza as the 100% owner

member. (JSOF #15) Lexington was not a legitimate business, Petrozza’s signature was forged,

and he never gave Robinson Brog authority to receive funds on behalf of such entity.

(JSOF #16) The IRS was given false documents regarding Lexington. (JSOF #17) Numerous

other fictitious entities were also created and registered with the IRS in November 2016, all to

receive the proceeds from the Go-Private Transaction. Pulsar Advance Care (“Pulsar”) was

incorporated on November 17, 2016, by Parmar’s brother in law, Salil Sharma. (ASOF #45)

Axis Medical Services, LLC (“Axis”) was incorporated on November 17, 2016. Lexington,

Axis, and Pulsar, were all located at the same address in Hazlet, NJ and were assigned Employer

identification numbers by the IRS on the same day, December 5, 2016. (ASOF #48) Vega

Advanced Care, LLC (“Vega”), located at the same address in Hazlet, NJ, was assigned

Employer identification number by the IRS on December 12, 2016. (ASOF #50) Axis and Vega

were companies established with Mr. Vardi as principle in order to receive funds from the Go-

Private Transaction. (ASOF #49) Robinson Brog was designated to receive the funds for each

entity in order to deprive the Debtors’ estates of funds from the Go-Private Transaction. (ASOF

##46, 47)

                30.   To fund the Go-Private Transaction, a Credit Agreement was entered into

with BOFA wherein BOFA advanced $130 million to the Debtors. (ASOF #51) The Credit

Agreement with BOFA was executed by all the Debtors and was secured by substantially all the

Debtors’ assets. (ASOF #52) On January 30, 2017, approximately $46 million that resulted

from the Go-Private Transaction was transferred into the Debtors’ IOLA account at Robinson



DOCS_LA:340597.10                                9
      Case 8-20-08052-ast         Doc 37   Filed 02/22/22     Entered 02/22/22 18:42:18




Brog and listed under a line item that states “Constellation Health/CHT Closing”. (JSOF #18)

BOFA is the Debtors’ largest creditor with an outstanding secured claim in the amount of

$158,200,710.89. (JSOF #19)

        On May 25, 2017, $250,000 Was Transferred To Defendants Petrozza And Abruzzi
        from the IOLA Account


                31.    In accordance with the Bankruptcy Court’s Order dated June 26, 2018,

Robinson Brog was ordered to turn over the IOLA Account statement for escrow funds held on

behalf of the Debtors and the non-debtor entities listed on Exhibit A to the Order. (JSOF #20)

The IOLA Statement memorializes $46,620,987 deposited into the IOLA Account on

February 3, 2017, from Capita Registrars in tranches of funds attributable to Axis, Vega,

Lexington and Pulsar; however, no entries for outflows correspond to the alleged entities. (See

Affidavit of F. Lazarra, ¶ 10; JSOF #21; ASOF #38) Each of these was an entity formed for the

sole purpose of improperly diverting the Debtors’ funds received from the Go-Private

Transaction. Such funds should have been used to pay creditors and, if appropriate, any

legitimate shareholders. These entities were neither creditors nor shareholders of the Debtors or

their predecessors in interest.

                32.    On May 24, 2017, Parmar directed Mitchell Greene at Robinson Brog to

wire $250,000 from the Robinson Brog IOLA Account to Defendant Abruzzi. (ASOF #53)

Parmar did not care which escrow account it came from. (ASOF #54) The reason for the funds

transfer was that Defendant Petrozza and/or Abruzzi needed $200,000 or $250,000 to lease a

house. (JSOF #22) On May 25, 2017, Robinson Brog confirmed to Paul Parmar and Sam



DOCS_LA:340597.10                              10
      Case 8-20-08052-ast       Doc 37     Filed 02/22/22    Entered 02/22/22 18:42:18




Zaharis that the wire of $250,000 was sent from the IOLA Account to Defendant Abruzzi.

(ASOF #55)

                33.   Defendant Petrozza contends he repaid the Parmar one month later. On

June 28, 2017, $250,000 was liquidated from an investment account of Defendant Abruzzi and

forwarded to Defendant Petrozza’s checking account. (JSOF #24) On June 29, 2017, Defendant

Abruzzi wired $250,000 to Sunshine Star, LLC (“Sunshine”). (JSOF #25) Sunshine was created

weeks earlier by Parmar and Parmar’s then girlfriend, Elena Sartison. (ASOF#56) Sunshine’s

account at M&T Bank was closed on October 16, 2017. (ASOF #59) Parmar and Petrozza

exchanged funds between one another before the Transfer which Defendant could not explain.

(JSOP #23)

                34.   The Debtors’ records evidence no antecedent debt satisfied concurrently

with the diversion of the $250,000. (ASOF #60) The Debtors’ books and records evidence no

antecedent debt owed to Sunshine Star, LLC or satisfied as a result of the June 29, 2017

transaction. (ASOF ##57, 60) The Debtors’ books and records evidence no antecedent debt

owed to Petrozza and/or Abruzzi Investments, LLC between January 1, 2017 and December 31,

2017. (ASOF #58) Defendant admits the Transfer to Sunshine Star, LLC did not benefit the

debtors. (JSOF #28) Defendant performed no service for the Debtors. (JSOF #26)

        At The Time Petrozza Received the $250,000 Transfer Lawsuits and Judgment
        Creditors Existed Against the Debtors


                35.   On December 16, 2015, the United States District Court for the Southern

District of Texas issued a Judgment in the amount of $194,185 against Debtor Orion in favor of



DOCS_LA:340597.10                              11
      Case 8-20-08052-ast        Doc 37     Filed 02/22/22     Entered 02/22/22 18:42:18




former employees Jack McBride and Alan Nottingham for unpaid deferred compensation. The

Judgment was filed as a proof of claim in Case 8-18-71748, and assigned claim no. 10001. The

filed claim remains unsatisfied. (JSOF #31)

                36.   On March 9, 2016, a lawsuit was initiated in the Supreme Court of the

State of New York by Criterions, LLC, against Debtors Physician Practice Plus, LLC and

Constellation Healthcare Technologies, Inc. (JSOF #32) Judgment was entered on

November 30, 2017, against Debtors Physician Practice Plus, LLC and Constellation Healthcare

Technologies, Inc. in the amount of $77,767.26. (JSOF #33) On March 23, 2018, a Suggestion

of Bankruptcy was filed by the Debtors to stay the proceedings in state court. (JSOF #34)

             LEGAL STANDARD ON SUMMARY JUDGMENT OR ADJUDICATION

                37.   Pursuant to Rule 7056 of the Federal Rules of Bankruptcy Procedure,

Rule 56 of the Federal Rules of Civil Procedure is applicable to this adversary proceeding.

Under Rule 56, summary judgment shall be granted “if the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a matter of law.

The moving party bears the burden of demonstrating the absence of any genuine issue of

material fact, and all inferences to be drawn from the underlying facts must be viewed in the

light most favorable to the party opposing the motion”. Adickes v. S.H. Kress & Co., 398 U.S.

144, 157, 90 S. Ct. 1598, 26 L. Ed. 2d 142 (1970). However, once there is a showing of the

absence of an issue of fact, the opposing party must produce specific evidence that raises a

genuine issue. Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 586, 106

S. Ct. 1348, 89 L. Ed. 2d 538 (1986). A fact is "material" if it might affect the outcome of the



DOCS_LA:340597.10                               12
      Case 8-20-08052-ast         Doc 37     Filed 02/22/22      Entered 02/22/22 18:42:18




suit under the governing substantive law, and "summary judgment will not lie if the dispute

about a material fact is 'genuine,' that is, if the evidence is such that a reasonable jury could

return a verdict for the nonmoving party." Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248,

106 S. Ct. 2505, 91 L. Ed. 2d 202 (1986).

        The Robinson Brog IOLA Account Were Funds of the Debtors Or Property In
        Which The Debtors Had An Interest


                38.    Section 541(a)(1) of the Bankruptcy Code's broad definition of "[p]roperty

of the estate" includes "all legal and equitable interests of the debtor in property wherever

located or by whomever held." [Emphasis added] 11 U.S.C. § 541(a)(1); Nisselson v. Salim (In

re Big Apple Volswagen, LLC), 2016 Bankr. LEXIS 834, *29 (Bankr. S.D.N.Y, 2016). “The

phrase 'all legal or equitable interests of the debtor in property' has been given the broadest

possible interpretation and the term equitable interest has generally not been interpreted as

limited to a debtor's equity in property." See Brown v. Dellinger (In re Brown), 734 F.2d 119,

123 (2d Cir. 1984). Further, the "legal or equitable interests" of a debtor have been held to

encompass an interest even though such interest is contingent. Id. Section 541(a)(3) of the Code

includes within its definition of "property of the estate" any property of the debtor, or the

proceeds thereof, recovered from a "custodian" of the debtor's property. Id. These broad

interpretations of "equitable interest" find strong support in the legislative history of the

Bankruptcy Code. “In describing § 541, the reports of the Senate and House of Representatives,

Committees on the Judiciary observed that "the scope of this paragraph is broad. It includes all

kinds of property, including tangible or intangible property [and] causes of action . . . ." H.R.

Rep. No. 595, 95th Cong., 1st Sess. 367 (1977), reprinted in 1978 U.S. Code Cong. & Ad. News

DOCS_LA:340597.10                                 13
      Case 8-20-08052-ast        Doc 37     Filed 02/22/22     Entered 02/22/22 18:42:18




5963, 6323; S. Rep. No. 989, 95th Cong., 2d Sess. 82 (1978), reprinted in 1978 U.S. Code Cong.

& Ad. News 5787, 5868.” Id.

                39.    An Interest on Lawyers Account is an unsegregated interest-bearing

deposit account… for the deposit by an attorney of “qualified funds”. NY Jud. Law § 497(1).

“Qualified funds” are monies received by an attorney in a fiduciary capacity from a client or

beneficial owner. The debtors’ funds sitting in an IOLA account are the funds of the debtor as

they are not property of the law firm who has no dominion or control over them. See State Farm

Mut. Auto Ins. Co. v. Grafman, No. 04-cv-2609(NG) (SMG), 2017 US Dist. LEXIS 154290,

2017 WL 4217122 (E.D. N.Y. Sept. 221, 2017). See In re Sec. Investor Prot. Corp. v. Bernard

L. Madoff Inv. Sec. LLC, 2017 Bankr. LEXIS 4145, pg. 11 [law firm was not free to use the

client's funds in escrow for its own benefit, and had it done so, the guilty attorneys undoubtedly

would have been disciplined and possibly prosecuted for stealing client funds. Hence, the law

firm was not a transferee].

                40.    The Bankruptcy Court’s Order dated June 26, 2018, ordered Robinson

Brog to turn over the IOLA Account statement for escrow funds held on behalf of the Debtors

and the non-debtor entities listed on exhibit A to the Order. An assertion by Parmar’s lawyer

that Parmar makes a claim on the IOLA Account is not evidence. An unsubstantiated claim does

not alter the basic facts before this Court: (1) Debtor funds were directly deposited into the IOLA

Account, (2) the IOLA Account was reflected on the Debtors’ books and records as an asset of

the Debtors, and (3) the Go-Private Transaction which resulted in BOFA advancing

$130 million, and which liability was placed on the Debtors books and records, were deposited



DOCS_LA:340597.10                               14
      Case 8-20-08052-ast         Doc 37     Filed 02/22/22     Entered 02/22/22 18:42:18




directly into the IOLA Account. The facts clearly establish the IOLA Account in the present

case represent an interest of the Debtor in property.

                       i.      At All Pertinent Times, The Monies in the IOLA Account
                               Were Reflected in Communications, Financial Records and
                               Audited Returns As An Asset and Debt of the Estate

                41.    For the fiscal year 2014, $23 million borrowed by Orion was deposited

and appeared in the IOLA Account. (ASOF #39) The $23 million debt was reflected in the

audited Consolidated Financial Statements of the Debtors as “net proceeds from long term debt”.

(ASOF #39) The Escrow Account reported in CHT’s general ledger shows that for the year-end

December 31, 2016, the IOLA Escrow Account balance was nearly equal to the amount recorded

in the Debtors’ balance sheet. (ASOF #40) This Escrow Account balance comprised of nearly

all of the cash balance reported on CHT’s balance sheet in its audited financials for the year

ended December 31, 2016, meaning the IOLA Account balance again was reported in the

Debtors financials and tax returns. See Floyd v. Option Mortgage Corp. (In re Supplement Spot,

LLC), 409 BR 187, 205 (Bankr. SD TX 2009) (significance that account was listed in the

debtor’s schedules in finding asset was property of the estate).

                42.    Escrow statements found as attachments to email communications from

April 2016 to September 2017 indicate that the IOLA Account was reported to the Debtors as a

single file on a consolidated basis. (ASOF #41) The historical treatment of the IOLA Account

in reporting it to the Debtor, and Robinson Brog seeking direction from the Debtors, was

consistent with it being reflected as an interest in the property of the Debtors.




DOCS_LA:340597.10                                15
      Case 8-20-08052-ast         Doc 37     Filed 02/22/22     Entered 02/22/22 18:42:18




                       ii.     Debtors’ Monies were Directly Deposited into IOLA Account
                               To Pay Legitimate and Illegitimate Purposes

                43.     Money in a bank account in the name of a debtor is presumed to be

property of the bankruptcy estate. Nisselson v. Salim (In re Big Apple Volkswagen, LLC), 2016

Bankr. LEXIS 834, *30 (Bankr. S.D.N.Y. 2016); Boyer v. Carlton, Fields, Ward, Emmanuel,

Smith & Cuter, P.A. (In re USA Diversified Prods., Inc.), 100 F.3d 53, 55 (7th Cir. 1996)

("Property of the debtor . . . includes the interest that a depositor the debtor has in the money in

his account . . .") Millions of dollars from the Debtors’ bank accounts were directly moved into

the IOLA Account at Robinson Brog in 2016-2017, where the Debtor directed how they be

utilized. The Funds were deposited from bank accounts of both Debtors, CHT and Orion. The

deposits exceeded $10 million. Once a trustee establishes that a transfer was made from a

debtor-owned account over which the debtor normally exercises control, the trustee "makes a

preliminary showing of an avoidable transfer 'of an interest of the debtor'. FBI Wind Down Inc.

Liquidating Trust v. All Am. Poly Corp. (In re FBI Wind Down, Inc.), 581 B.R. 116, 130 (Bankr.

DE, 2018). This presumption holds even in cases where the account contains commingled funds.

Id. In reviewing whether the presumption should not apply to a specific case, courts have looked

to evidence demonstrating other indicia of control. Control refers not merely to the physical

means of exerting control, but the legal right to do so. Thus, the transferor's right to use funds to

pay its own creditors or for an alternative purpose is dispositive over actual ownership. Id.

                44.    The Debtors’ executives diverted monies from the Debtors’ bank accounts

and on account of alleged business dealings of the Debtors. (ASOF ##36-38) Monies were used

to pay legitimate debts of the Debtors, as well as make questionable transactions by executives;



DOCS_LA:340597.10                                16
      Case 8-20-08052-ast         Doc 37     Filed 02/22/22      Entered 02/22/22 18:42:18




at the end of 2016, the IOLA Account funds were used to pay Robinson Brog legal fees for

Debtor including the Go-Private Transaction. (ASOF #42) The Debtors had not only the legal

and the equitable right to use the funds in the IOLA Account, but in fact used the account to pay

debts of the Debtors.

                        iii.   In 2017, Proceeds From the Go-Private Transaction Were
                               Funded in Part by the Debtors Borrowing $130,000,000 Which
                               Were Deposited into IOLA Account

                45.     Pursuant to the Credit Agreement, BOFA advanced $130 million upon

pledge of all the Debtors’ assets to fund the Go-Private Transaction. (ASOF ##51, 52) On

January 30, 2017, approximately $46 million that resulted from the Go-Private Transaction was

transferred into the Robinson Brog IOLA Account under a caption titled “Constellation

Health/CHT Closing.” (ASOF #18) The funds at this time were property of the Debtor and

under the control of the Debtor through its executives, including Paul Parmar. The Credit

Agreement with BOFA was executed by all of the Debtors and was secured by all of the

Debtors’ assets. (ASOF #52) BOFA is the largest creditor in the bankruptcy case with an unpaid

secured claim in the amount of $158,200,710.89. (JSOF #19)

                46.     The overwhelming evidence demonstrates the IOLA Account, where the

Transfer at issue was disbursed, was an account which held an interest of the Debtors’ in

property. Plaintiff can establish his prima facie case.

        It Cannot Be Reasonably Disputed that the Transfer Was an Intentionally
        Fraudulent Transfer Under State and Federal Law


                47.     In its First Claim for Relief, the Plaintiff properly seeks: to avoid the

intentionally fraudulent transfer of the Debtors’ funds to Defendants totaling not less than


DOCS_LA:340597.10                                 17
      Case 8-20-08052-ast         Doc 37      Filed 02/22/22     Entered 02/22/22 18:42:18




$250,000, pursuant to 11 U.S.C. §§ 544, 548 and 550 and NY Debt & Cred L §276, et seq., or

recover the value thereof, and preserve the Transfer for the benefit of the Debtors’ estate

pursuant to 11 U.S.C. § 551. (See Affidavit of J. Nolan ¶2, Complaint, ¶¶21-27) Section

548(a)(1)(B) of the Bankruptcy Code permits a trustee to avoid, inter alia, "any transfer . . . of an

interest of the debtor in property . . . that was made within 2 years before the date of filing of the

Petition. § 548(a)(1)(B). Fraudulent conveyance claims under New York State law generally are

subject to a six year statute of limitations. Orr v. Kinderhill Corp., 991 F.2d 31, 35 (2d Cir.

1993) (citations omitted). The Transfer occurred less than one (1) year from the Petition Date

and is timely under federal and state law.

                48.     Under federal law, fraudulent intent for the purposes of finding liability

under 11 USC § 548(a)(1)(A) of a debtor, focuses on the intent of the transferor. The only

inquiry concerning actual intent that matters is that of the debtor: whether the debtor causing the

transfer or incurring the obligation intended to hinder, delay or defraud its creditor. See, e.g.,

Rubin Bros. Footwear, Inc. v. Chemical Bank (In re Rubin Bros. Footwear Inc.), 119 B.R. 416,

423. (Bankr. S.D.N.Y. 1990) ("For the purposes of [§ 548(a)(1)(A)], plaintiff must show

fraudulent intent on the part of the transferor, rather than on the part of the transferee.");

McColley v. Rosenberg (In re Candor [*445] Diamond Corp.), 76 B.R. 342, 349 n. 4 (Bankr.

S.D.N.Y. 1987) (referring to transferee's intent as irrelevant). Section §548 is not a punitive

provision designed to punish the transferee, but is instead an equitable provision that places the

transferee in the same position as other similarly situated creditors who did not receive

fraudulent conveyances. See Bayou Accredited Fund, LLC v. Redwood Growth Partners, L.P.



DOCS_LA:340597.10                                 18
      Case 8-20-08052-ast        Doc 37     Filed 02/22/22      Entered 02/22/22 18:42:18




(In re Bayou Group, LLC), 396 B.R. 810, 826- 827 (Bankr. S.D.N.Y. 2008). Pursuant to

§ 548(a)(1)(A), a transfer may be avoided as actually fraudulent if (1) the debtor had an interest

in the property transferred; (2) the transfer occurred within two years of the petition date; and

(3) the transfer was made with actual intent to hinder, delay or defraud a creditor. See 11 U.S.C.

§ 548(a)(1)(A) (2004). Bruno Mach. Corp. v. Troy Die Cutting Co. (In re Bruno Mach. Corp.),

435 B.R. 819, 852-53(N.D. NY, 2010) with the first two elements established, Plaintiff can

establish the third element since the Transfer was made for no legitimate business purpose,

grounded in misrepresentations and fake documents for no consideration.

                49.    The genesis of the Transfer to Defendants was an elaborate fraud

orchestrated by Parmar. In 2015 and 2016, the numerous fake acquisitions took place by the

Debtor acquiring shell companies which had no business, employees or assets and no new

revenue generated. (JSOF ##11-13; ASOF #43) In November 2016, Defendant Petrozza met

with Parmar and other managers of the board to approve the corporate documents associated

with the Go-Private Transaction. (JSOF #14) The Go-Private Transaction involved the merger

and acquisition of shares of the Debtors and the sale of the controlling interest to CC Capital

(referred to as CHT Holdco, LLC). To finance the merger, the Debtor took on massive debt by

obtaining financing from BOFA for $130 million (with a total commitment of up to

$150 million). (ASOF #51) In November and December 2016, Parmar, with the assistance of

Robinson Brog, created fake companies to receive the fabricated equity from the Synthetic

Transactions. (JSOF #16; ASOF ##44-50) One of the fictitious entities created on November

17, 2016, to receive monies was Lexington Landmark Services, LLC as owned by the Defendant



DOCS_LA:340597.10                                19
       Case 8-20-08052-ast           Doc 37      Filed 02/22/22        Entered 02/22/22 18:42:18




Petrozza.4 (JSOF #15) Neither Lexington, Axis Medical Services, LLC, nor Pulsar Advanced

Care, LLC, were legitimate businesses. (JSOF ##16, 17; ASOF 45, 49) Other entities created at

the time to receive the fabricated equity were located at the same address in Hazlet, NJ, and were

assigned employer identification numbers by the IRS on the same day, December 5, 2016.

(ASOF #48) Since the various entities did not possess bank accounts, Robinson Brog was

utilized to receive proceeds from the privatization transaction on their behalf. (ASOF #46, 47).

On January 30, 2017, approximately $46 million that resulted from the Go-Private Transaction

was transferred into the Debtors’ IOLA Account of which $250,000 was paid by Parmar to

Defendants.

                 50.     The intent to defraud legitimate creditors of the Debtor is clear.

Fabrication of companies, falsification of operating documents, complete with falsified

signatures in an effort to deceive and defraud creditors of the estate, namely BOFA, is evidence

of an intent to defraud. See United States v. Maciejewski, 70 F. Supp. 2d 129, 134 (Bankr.

N.D.N.Y, 1999) (False statements, misrepresentations and backdating memorandum is evidence

of intent to defraud as an effort to make a transaction appear legitimate). A "strong inference" of

fraud may be established by alleging facts showing either (1) a "motive and opportunity to

commit the fraud"; or (2) "strong circumstantial evidence of conscious misbehavior or

recklessness." Employees' Ret. Sys. of Gov't of the Virgin Islands v. Blanford, 794 F.3d 297, 306

(2d Cir. 2015) (securities law); see also Adelphia Recovery Trust v. Bank of Am., N.A., 624 F.



4
 Another entity fabricated to receive the monies was Pulsar Adance [sic] Care, LLC created on November 17, 2016,
and which identifies Salil Sharma as the 100% owner member. Salil Sharma was Mr. Parmar’s brother-in-law.
(ASOF #45)

DOCS_LA:340597.10                                     20
      Case 8-20-08052-ast        Doc 37      Filed 02/22/22     Entered 02/22/22 18:42:18




Supp. 2d 292, 308 (S.D.N.Y. 2009) (applying "motive and opportunity" test to the pleading of a

§ 548 claim). Parmar and Zaharis, as its executives, controlled the Debtor creating fictitious

companies with no assets, operations, or bank accounts and falsifying records of ownership. On

the backend, Parmar made the Transfer to Defendant for his personal benefit, or at a minimum,

for no legitimate business purpose. Monies flowed out of the estate to an insider of Parmar, his

girlfriend, and yet another corporation with no legitimate business purpose. The Transfer was

concealed in this manner to move money away from existing intentionally creditors of the estate.

        Pursuant To N.Y. DCL §276, The Transfer Was An Intentionally Fraudulent
        Transfer


                51.    N.Y. DCL § 276 provides that “[e]very conveyance made and every

obligation incurred with actual intent, as distinguished from intent presumed in law, to hinder,

delay, or defraud either present or future creditors, is fraudulent as to both present and future

creditors.” N.Y. DCL § 276; Mendelsohn v. Jacobowitz (In re Jacobs), 394 B.R. 646, 658

(Bankr. E.D.N.Y. 2008) (It is well accepted that intent to hinder or delay creditors is sufficient,

and intent to defraud need not be proven. Id. citing to In re MarketXT. Holdings Corp., 376 B.R.

390 (Bankr. S.D.N.Y. 2007) at 403 (citing Shapiro v. Wilgus, 287 U.S. 348, 354, 53 S. Ct. 142,

77 L. Ed. 355 (1932). Intent to evade creditors amounts to a fraudulent conveyance regardless of

insolvency. Korea Deposit Ins. Corp. v. Mina Jung, 59 Misc. 3d 442, 449 (Sup Ct, New York

County, 2017); See United States v. McCombs, 30 F.3d 310, 327-28 (2d Cir. 1994). As the

Second Circuit explained:

          “Due to the difficulty of proving actual intent to hinder, delay, or defraud
          creditors, the pleader is allowed to rely on ‘badges of fraud’ to support his case,
          i.e., circumstances so commonly associated with fraudulent transfers that their
          presence gives rise to an inference of intent.”

DOCS_LA:340597.10                                21
      Case 8-20-08052-ast        Doc 37     Filed 02/22/22     Entered 02/22/22 18:42:18




          Courts in New York look to the badges of fraud commonly associated with fraudulent
          transfers that raise an inference of fraudulent intent Salomon v. Kaiser (In re Kaiser),
          722 F.2d 1574, 1582-83 (2d Cir. 1983). See Tronox v. Anadarko Petroleum (In re
          Tronox Inc.), 429 B.R. 73, 95 (Bankr. S.D.N.Y. 2010) (“The existence of several
          badges of fraud can constitute clear and convincing evidence of actual intent.” (quoting
          In re Actrade Fin. Techs. Ltd., 337 B.R. 791 at 809)).

                52.    Badges of fraud are not conclusive, but they help to focus the inquiry on

the circumstances that suggest a conveyance was made with fraudulent intent, viz., with the

purpose of placing a debtor's assets out of the reach of creditors. See Tronox Inc. v. Kerr McGee

Corp., (In re Tronox Inc.), 503 B.R. 239, 282-283 (S.D.N.Y, 2013) In the present case, the

events from January 2017 to the date of the Transfer on May 25, 2017, are direct evidence of a

fraud committed against creditors of the Debtors to enable Parmar to move monies to the IOLA

Account where it was secreted to friends and companions.

                       i.      The Lack Or Inadequacy Of Consideration

                53.    Before determining whether the value was 'reasonably equivalent' to what

the debtor gave up, the court must make an express factual determination as to whether the

debtor received any value at all. Mellon Bank v. Official Comm. of Unsecured Creditors (In re

R.M.L., Inc.), 92 F.3d 139, 149 (3d Cir. 1996) It is not disputed by Defendants that the

$250,000 Transfer was made without consideration to the Debtor. (JSOF #26, 28) The Debtors’

books and records evidence no antecedent debt satisfied concurrently by the Transfer. (ASOF

##57, 58, 60) This factor is established.

                       ii.     The Family, Friendship Or Close Associate Relationship
                               Between The Parties

                54.    Paul Parmar and Defendant Petrozza were close friends who socialized at

Mr. Parmar’s residence from 2013, exchanged credit cards, and paid one another’s American



DOCS_LA:340597.10                               22
      Case 8-20-08052-ast        Doc 37    Filed 02/22/22     Entered 02/22/22 18:42:18




Express bills. (JSOF #4) The two gentlemen were on the board together for Constellation Health,

LLC involved in the suspect transactions and in the Transfer. (SSOF #22) See Machado v. A.

Canterpass, LLC, 115 A.D.3d 652, 654, 981 N.Y.S 2d 758 (2014) (indicia of fraud where

principals of the transferor are also principals of the transferees). They had made loans to one

another in the past based on nothing other than a handshake. (JSOF #27) The facts establish

their close relationship and involvement on both sides of the transactions.

                      iii.    The Retention Of Possession, Benefit Or Use Of The Property
                              In Question

                55.   Defendant retained and utilized the funds as he saw fit. Eventually, the

funds were placed in an investment account of Defendant (JSOF #24) If the Defendant is to be

believed, one month later he transferred the $250,000 at Parmar’s direction to Sunshine Star,

LLC. There can be no reasonable dispute that Sunshine Star, LLC was established by Parmar for

the express purpose to receive the $250,000. (ASOF #56) Shortly following the receipt of the

funds, the account was closed at Mr. Parmar’s direction in October 2017. (ASOF #59) Parmar

and Petrozza had a history of sending one another monies which could not be explained.

(JSOF #23). The bottom line, Defendant received and used the Transfer as he saw fit and the

law does not demand moving party establish an accounting between friends. The Motion

establishes Defendant and Parmar’s use of the funds.

                      iv.     The Financial Condition Of The Party Sought To Be Charged
                              Both Before And After The Transaction In Question

                56.   Defendant was having liquidity issues at the time of the Transfer. (JSOF

#30) Further, Defendant knew Parmar was having financial issues in January 2017. (JSOF #29)

The motive was present to take monies from the Debtor, as Parmar had done in paying off his


DOCS_LA:340597.10                               23
      Case 8-20-08052-ast         Doc 37     Filed 02/22/22      Entered 02/22/22 18:42:18




personal debt to his neighbor Howard Schoor, and to secrete those funds for Parmar’s debts or

obligations.

                       v.      The Existence Or Cumulative Effect Of A Pattern Or Series Of
                               Transactions Or Course Of Conduct After The Incurring Of
                               Debt, Onset Of Financial Difficulties, Or Pendency Or Threat
                               Of Suits By Creditors; And The General Chronology Of The
                               Events And Transactions Under Inquiry.

                57.    District court judgments and state court lawsuits were pending against the

Debtors in 2015 and 2016. At the same time, the Debtor expended tens of millions of dollars on

the Synthetic Transactions which did not increase the Debtors’ revenue. (ASOF #43) The

Go-Private Transaction in January 2017, resulted in a $158 million liability to the Debtors’

books which remained outstanding at the time of the filing of the Petition. The payment of

$250,000 to Defendant could have paid legitimate debts of creditors, but instead went to

Parmar’s friend since both men admittedly did not have money available to pay their own

personal obligations. Defendants’ “failure to proffer any legitimate explanation for the

conveyance” allows the defendants' actual fraudulent intent to be readily inferable on the facts,

and the plaintiff is entitled to a judgment setting those conveyances aside under N.Y. DCL §

276." Machado v. A. Canterpass, LLC, 115 A.D.3d 652, 654, 981 N.Y.S.2d 758 (2d Dept 2014).

        The Transfer Violates NY Debt & Cred L § 273(a) As A Constructively Fraudulent
        Transfer As Judgment Creditors Existed Before The Transfer And The Transfer
        Had The Effect Of Moving Monies Out Of The Estate For No Value


                58.    N.Y. Debt & Cred Law § 273-a provides: "Every conveyance made

without fair consideration when the person making it is a defendant in an action for money

damages or a judgment in such an action has been docketed against him, is fraudulent as to the

plaintiff in that action without regard to the actual intent of the defendant if, after final judgment

DOCS_LA:340597.10                                 24
      Case 8-20-08052-ast        Doc 37      Filed 02/22/22     Entered 02/22/22 18:42:18




for the plaintiff, the defendant fails to satisfy the judgment." N.Y. DCL § 273-a (McKinney

2002). Thus, to prevail on a claim under § 273-a, a plaintiff must establish that: (1) the

conveyance was made without fair consideration; (2) at the time of transfer, the transferor was a

defendant in an action for money damages or a judgment in such action had been docketed

against him; and (3) a final judgment has been rendered against the transferor that remains

unsatisfied. Priestley v. Panmedix Inc., 18 F. Supp. 3d 486, 497 (S.D.N.Y. 2014); Grace v.

BankLeumi Trust Co. of N.Y., 443 F.3d 180, 188 (2d Cir. 2006). The Court need not address a

determination of solvency if the Court finds a lawsuit was pending, or, a judgment existed

against the Debtors at the time of the Transfer and the judgment was left unsatisfied. Under such

circumstances the transfer per se violates §273-a, is fraudulent and the solvency or insolvency of

the Debtor is irrelevant. Lyman Commerce Solutions, Inc. v. Lung, 2015 U.S. Dist. LEXIS

51447, 2015 WL 1808693, at *5 (S.D.N.Y. Apr. 20, 2015). Lyman Commerce Solutions, Inc. v.

Lung, 2015 U.S. Dist. LEXIS 51447, 17 (S.D.N.Y, 2015) citing to N.Y. DCL § 273-a

(McKinney 2002). As noted by the court in Lyman, “Sections 273 and 273-a thus provide

alternate theories of fraud: § 273 "applies to transfers that render a debtor insolvent, and the

existence of an action or judgment is irrelevant," while § 273-a "applies where there is an action

pending or a judgment already docketed, but there is no requirement that the transfer rendered

the debtor insolvent." Cadle Co. v. Newhouse, No. 01 CIV. 1777 (DC), 2002 U.S. Dist. LEXIS

15173, 2002 WL 1888716, at *5-6 (S.D.N.Y. Aug. 16, 2002), aff'd, 74 F. App'x 152 (2d Cir.

2003) (emphasis added). In effect, § 273-a "substitutes the requirement of an unpaid judgment

(or a pending action) for the requirement of insolvency." Mitchell v. Lyons Prof'l Servs., Inc.,



DOCS_LA:340597.10                                25
       Case 8-20-08052-ast            Doc 37       Filed 02/22/22        Entered 02/22/22 18:42:18




No. 09 CIV. 1587 BMC, 2013 U.S. Dist. LEXIS 124937, 2013 WL 4710431, at *3 (E.D.N.Y.

Sept. 1, 2013) vacated and remanded on other grounds, Mitchell v. Garrison Protective Servs.,

Inc., 579 F. App'x 18 (2d Cir. 2014); see also Dixie Yarns, Inc. v. Forman, 906 F. Supp. 929, 938

(S.D.N.Y. 1995) ("a claimant under § 273-a need not demonstrate the insolvency of the

judgment debtor.5 It is sufficient to support the claim that the judgment has not been satisfied;

and if, as here, it has not, the question of insolvency is irrelevant to the considerations at hand.")

                 59.      Here, there is no dispute that the second and third elements for liability

under § 273-a are met. The Transfer in question occurred on May 25, 2017. (ASOF #55) The

Southern District Court of Texas issued a judgment in the amount of $194,185, against the

Debtor Orion Healthcorp, Inc. on December 16, 2015. (JSOF #31) On March 9, 2016, a lawsuit

was initiated in the Supreme Court of the State of New York, against the Debtors Physician

Practice Plus, LLC and Constellation Healthcare Technologies, Inc, and judgment issued on

November 30, 2017. (JSOF ##32-33) The Debtors failed to satisfy the judgments as of the

Petition date. (JSOF ##31, 34) The Transfer violates N.Y. DCL § 273-a.

        The Transfer Lacked Both Consideration And Good Faith


                 60.      N.Y. Debt. & Cred. Law § 272 defines "fair consideration" for purposes of

§ 273-a, and provides that:

            Fair consideration is given for property, or obligation,

5
  Under N.Y. Debt. & Cred. Law § 273, there is a long-recognized presumption of insolvency where the debtor
makes a conveyance without fair consideration. See Kramer v. Mahia (In re Khan), 2014 Bankr. LEXIS 4205, citing
to Geron v. Schulman (In re Manshul Constr. Corp.), 2000 U.S. Dist. LEXIS 12576, 2000 WL 1228866, at *53
(S.D.N.Y. Aug. 20, 2000); Kramer v. Mahia (In re Khan), 2014 Bankr. LEXIS 4205, 41 (Bkrtcy. E.D.N.Y, 2016)
(trustee has met his burden on summary judgment and there is no genuine issue of fact where Debtor transferred
property for less than fair consideration or reasonably equivalent value, not on account of antecedent debt, and for
intra-family transfer)

DOCS_LA:340597.10                                       26
       Case 8-20-08052-ast             Doc 37       Filed 02/22/22        Entered 02/22/22 18:42:18




            a. When in exchange for such property, or obligation, as a fair equivalent
            therefor, and in good faith, property is conveyed or an antecedent debt is
            satisfied, or

            b. When such property, or obligation, is received in good faith to secure a
            present advance or antecedent debt in amount not disproportionately small as
            compared with the value of the property, or obligation obtained.

Lyman Commerce Solutions, Inc. v. Lung, 2015 U.S. Dist. LEXIS 51447, 21(S.D.N.Y, 2015)6

                  61.      Even if there is fair consideration, a transfer is still constructively

fraudulent in the absence of good faith on the part "of both the transferor and the transferee." at

303 (emphasis added), quoting Berner Trucking, Inc. v. Brown, 281 AD2d 924, 925, 722

N.Y.S.2d 656 (1st Dept 2001); see Sardis v. Frankel, 113 A.D.3d 135, 142, 978 N.Y.S.2d 135

(1st Dept 2014) ("Fair consideration' ... is not only a matter of whether the amount given for the

transferred property was a 'fair equivalent' or 'not disproportionately small,' but whether the

transaction is made 'in good faith,' an obligation that is imposed on both the transferor and the

transferee."). Importantly, as pertinent here, "[a]n insider payment is not in good faith, regardless

of whether or not it was paid on account of an antecedent debt." Am. Media, Inc. v. Bainbridge

& Knight Labs., LLC, 135 A.D.3d 477, 478, 22 N.Y.S.3d 437 (1st Dept 2016), citing EAC of

N.Y, Inc. v. Capri 400, Inc., 49 A.D.3d 1006, 1007, 853 N.Y.S.2d 419 (3d Dept 2008)

Defendants fail both tests for Fair Consideration under N.Y. Debt. & Cred. Law § 272.

                  62.      First, no genuine dispute of fact exists that (1) the Debtor received

nothing, zero, in exchange for the Transfer of $250,000 on May 25, 2017. Defendant testified

“he needed the money” and did not provide any product or service to the Debtor. (JSOF

##26, 29) There was no promissory note or paperwork to memorialize the Transfer and the


6
  Section 548(c) requires both value and good faith and in the absence of either, the defense fails. Berman v. Pavano
(In re Michael S. Goldberg, LLC), 2020 Bankr. LEXIS 2314, 22 (Bankr. Conn. 2020).

DOCS_LA:340597.10                                        27
      Case 8-20-08052-ast          Doc 37      Filed 02/22/22   Entered 02/22/22 18:42:18




subsequent passage of funds to Sunshine Star did not benefit the Debtors. (JSOF #28) Second,

no antecedent debt was satisfied by the transfer of $250,000 to Defendants. (ASOF ##57, 58,

60) The Debtors’ books and records corroborate no corporate debt owed or satisfied to

Defendant Petrozza or Abruzzi Investments, LLC as a result of the Transfer. (ASOF #60)

                63.    Lastly, New York courts have recognized that where the transferee is an

officer, director, or major shareholder of the transferor, good faith is lacking as a matter of law.

Id.; see also Sharp Int'l Corp. v. State St. Bank & Trust Co., 403 F.3d 43, 54 (2d Cir. 2005);

Farm Stores, Inc. v. Sch. Feeding Corp., 102 A.D.2d 249, 477 N.Y.S.2d 374 (2d Dep't 1984).

When preferences are given to a debtor corporation's shareholders, officers, or directors, such

transfers are generally deemed not to be for fair consideration and per se violations of the good

faith requirement. Id. (citing HBE Leasing Corp. v. Frank, 48 F.3d 623, 634 (2d Cir. 1995)).

Defendant Petrozza asserts he is a shareholder and/or controlling member of the Debtors. (JSOF

##7, 35). The Transfer was a per se violation of the good faith requirement enumerated under

the Farm Stores, Inc., decision.

        Numerous undisputed facts demonstrate Defendants gave no value to the Debtors and

were without good faith in accepting the monies. The Transfer was constructively fraudulent to

legitimate creditors of the Debtors’ estate.




DOCS_LA:340597.10                                 28
      Case 8-20-08052-ast        Doc 37     Filed 02/22/22     Entered 02/22/22 18:42:18




                                         CONCLUSION

        WHEREFORE, the Liquidating Trustee requests that this Court enter an order

substantially in the form as attached to the Affidavit of Jeffrey Nolan, as Exhibit 6:

        (1)     Avoiding the Transfer as an intentionally fraudulent transfer pursuant to the

Bankruptcy Code 11 USC § 548 and NY Debt & Cred. Law § 276;

        (2)     Avoiding the Transfer as a constructively fraudulent transfer pursuant to the

Bankruptcy Code 11 USC § 548 and NY Debt & Cred. Law § 273; and

        (3)     Awarding costs and/or fees by motion and according to proof.

Dated: February 22, 2022                   Respectfully submitted,
                                           PACHULSKI STANG ZIEHL & JONES LLP

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                                           Howard M. Ehrenberg in his capacity as
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DOCS_LA:340597.10                               29
